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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )                 8:14CR184
                    Plaintiff,              )
                                            )
      vs.                                   )                  ORDER
                                            )
GUILLERMO RIOL,                             )
                                            )
                    Defendant.              )


      This matter is before the court on the motion to continue by defendant Guillermo
Riol (Riol) (Filing No. 41). Riol seeks a continuance of the trial of this matter which is
scheduled for October 27, 2014. The motion does not comply with Paragraph 9 of the
Progression Order and NECrimR 12.1 (a), which provides, in part:
             Unless excused by the court in individual cases, a motion to
             continue the trial setting of a criminal case must state facts
             demonstrating that the ends of justice served by a continuance
             outweigh the best interest of the public and the defendant in a
             speedy trial, (see 18 U.S.C. §3161(h)(7)(A)), or that for some
             other reason, the continuance will not violate the Speedy Trial
             Act. Unless excused by the court in individual cases, if the
             defendant is a moving party the motion shall be accompanied
             by the defendant’s affidavit or declaration (see 28 U.S.C.
             § 1746) stating that defendant:
                    (1)     Was advised by the defense attorney of
                            the reasons for seeking a continuance;
                    (2)     Understands that the time sought by the
                            extension may be excluded from any
                            calculation of time under the Speedy Trial
                            Act, 18 U.S.C. § 3161-3174; and
                    (3)     With this understanding and knowledge,
                            agrees to the filing of the motion.

The motion is not accompanied by the defendant’s affidavit or declaration stating the
requirements of (1) U , (2) U , or (3) U above.
      Accordingly, the motion (Filing No. 41) is held in abeyance until October 22, 2014,
and if the deficiency noted above is not corrected, the motion will be denied.


      IT IS SO ORDERED.
      DATED this 17th day of October, 2014.
                                                BY THE COURT:

                                                s/ Thomas D. Thalken
                                                United States Magistrate Judge
